Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 1 of 11 PageID #: 1
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 2 of 11 PageID #: 2
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 3 of 11 PageID #: 3
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 4 of 11 PageID #: 4
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 5 of 11 PageID #: 5
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 6 of 11 PageID #: 6
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 7 of 11 PageID #: 7
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 8 of 11 PageID #: 8
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 9 of 11 PageID #: 9
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 10 of 11 PageID #: 10
Case 3:10-cv-01096 Document 1 Filed 11/18/10 Page 11 of 11 PageID #: 11
